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 6
 7
 8
                          UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11 MICHAEL C. PIZZUTO, Individually
   and On Behalf of All Others Similarly         Case No.
12 Situated,
13
                           Plaintiff,            CLASS ACTION
14
                      v.                         COMPLAINT FOR VIOLATIONS OF
15
                                                 THE FEDERAL SECURITIES LAWS
16
   HOMOLOGY MEDICINES, INC.,                     DEMAND FOR JURY TRIAL
17 ARTHUR O. TZIANABOS, W.
18 BRADFORD SMITH, and ALBERT
   SEYMOUR,
19
20                   Defendants.

21
22         Plaintiff Michael C. Pizzuto (“Plaintiff”), individually and on behalf of all others
23 similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against
24
   Defendants, alleges the following based upon personal knowledge as to Plaintiff and
25
26 Plaintiff’s own acts, and information and belief as to all other matters, based upon, inter
27
28                                               1
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 1 alia, the investigation conducted by and through Plaintiff’s attorneys, which included,
 2
     among other things, a review of the Defendants’ public documents, conference calls and
 3
     announcements made by Defendants, United States (“U.S.”) Securities and Exchange
 4
 5 Commission (“SEC”) filings, wire and press releases published by and regarding
 6
     Homology Medicines, Inc. (“Homology” or the “Company”), analysts’ reports and
 7
 8 advisories about the Company, and information readily obtainable on the Internet.
 9 Plaintiff believes that substantial additional evidentiary support will exist for the
10
     allegations set forth herein after a reasonable opportunity for discovery.
11
12                                 NATURE OF THE ACTION

13         1.     This is a federal securities class action on behalf of a class consisting of all
14
     persons and entities other than Defendants that purchased or otherwise acquired
15
16 Homology securities between June 10, 2019 and February 18, 2022, both dates inclusive
17 (the “Class Period”), seeking to recover damages caused by Defendants’ violations of the
18
     federal securities laws and to pursue remedies under Sections 10(b) and 20(a) of the
19
20 Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated
21 thereunder, against the Company and certain of its top officials.
22
           2.     Homology, a genetic medicines company, focuses on transforming the lives
23
24 of patients suffering from rare genetic diseases. The Company’s lead product candidate
25 is HMI-102, which is in Phase I/II pheNIX clinical trial, a gene therapy for the treatment
26
   of phenylketonuria (PKU) in adults (the “HMI-102 Trial”).
27
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 1         3.     On June 10, 2019, Homology issued a press release announcing that it had
 2
     commenced enrollment of the HMI-102 Trial.
 3
           4.     Throughout the Class Period, Defendants made materially false and
 4
 5 misleading statements regarding the Company’s business, operations, and compliance
 6
     policies. Specifically, Defendants made false and/or misleading statements and/or failed
 7
 8 to disclose that: (i) the Company had overstated HMI-102’s efficacy and risk mitigation;
 9 (ii) accordingly, it was unlikely that the Company would be able to commercialize HMI-
10
     102 in its present form; and (iii) as a result, the Company’s public statements were
11
12 materially false and misleading at all relevant times.
13         5.     On July 21, 2020, Mariner Research (“Mariner”) published a report
14
     questioning statements by Homology and its officers about the efficacy of HMI-102, the
15
16 Company’s lead product candidate for treatment of phenylketonuria. Mariner focused on
17 Homology’s HMI-102 dose escalation pheNIX trial, concluding that the Company
18
     concealed data showing HMI-102’s lack of efficacy and indicating that the program was
19
20 unlikely to proceed to commercialization. Among other evidence, Mariner cited an email
21 from Homology’s Chief Communications Officer appearing to indicate the Company’s
22
     awareness that a HMI-102 high dose patient had adverted to the adverse efficacy issue in
23
24 a social media post during April 2020.
25         6.     On this news, Homology’s stock price fell $1.71 per share, or 10.38%, over
26
     the following three trading days, closing at $14.77 per share on July 24, 2020.
27
28                                               3
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 1         7.    Then, on February 18, 2022, Homology issued a press release disclosing that
 2
     “the U.S. Food and Drug Administration (FDA) has notified the company that its pheNIX
 3
     gene therapy trial of HMI-102 in adults with phenylketonuria (PKU) has been placed on
 4
 5 clinical hold due to the need to modify risk mitigation measures in the study in response
 6
     to observations of elevated liver function tests” and that “[t]he Company expects to
 7
 8 receive an official clinical hold letter within 30 days.”
 9         8.    On this news, Homology’s stock price fell $1.26 per share, or 32.64%, to
10
     close at $2.60 per share on February 22, 2022.
11
12         9.    As a result of Defendants’ wrongful acts and omissions, and the precipitous

13 decline in the market value of the Company’s securities, Plaintiff and other Class
14
     members have suffered significant losses and damages.
15
16                              JURISDICTION AND VENUE

17         10.   The claims asserted herein arise under and pursuant to Sections 10(b) and
18
     20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated
19
20 thereunder by the SEC (17 C.F.R. § 240.10b-5).
21         11.   This Court has jurisdiction over the subject matter of this action pursuant to
22
     28 U.S.C. § 1331 and Section 27 of the Exchange Act.
23
24         12.   Venue is proper in this judicial district pursuant to §27 of the Exchange Act

25 (15 U.S.C. §78aa) and 28 U.S.C. §1391(b) as the alleged misstatements entered and the
26
27
28                                               4
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 1 subsequent damages took place in this judicial district. Further, Plaintiff is a resident of
 2
     Los Angeles County.
 3
           13.    In connection with the acts alleged in this complaint, Defendants, directly or
 4
 5 indirectly, used the means and instrumentalities of interstate commerce, including, but
 6
     not limited to, the mails, interstate telephone communications, and the facilities of the
 7
 8 national securities markets.
 9                                               PARTIES
10
           14.    Plaintiff, as set forth in the attached Certification, acquired Homology
11
12 securities at artificially inflated prices during the Class Period and was damaged upon the
13 revelation of the alleged corrective disclosures.
14
           15.    Defendant Homology is a Delaware corporation with principal executive
15
16 offices located at One Patriots Park, Bedford MA 01730. The Company’s securities trade
17 in an efficient market in the U.S. on the Nasdaq Global Select Market (“NASDAQ”)
18
     under the ticker symbol “FIXX.”
19
20         16.    Defendant Arthur O. Tzianabos (“Tzianabos”) has served as Homology’s

21 President, Chief Executive Officer, and Director at all relevant times.
22
           17.    Defendant W. Bradford Smith (“Smith”) has served as Homology’s Chief
23
24 Financial Officer and Treasurer at all relevant times.
25         18.    Defendant Albert Seymour (“Seymour”) has served as Homology’s Chief
26
     Scientific Officer at all relevant times.
27
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 1         19.   Defendants Tzianabos, Smith, and Seymour are sometimes referred to
 2
     herein as the “Individual Defendants.”
 3
           20.   The Individual Defendants possessed the power and authority to control the
 4
 5 contents of Homology’s SEC filings, press releases, and other market communications.
 6
     The Individual Defendants were provided with copies of Homology’s SEC filings and
 7
 8 press releases alleged herein to be misleading prior to or shortly after their issuance and
 9 had the ability and opportunity to prevent their issuance or to cause them to be corrected.
10
     Because of their positions with Homology, and their access to material information
11
12 available to them but not to the public, the Individual Defendants knew that the adverse
13 facts specified herein had not been disclosed to and were being concealed from the public,
14
     and that the positive representations being made were then materially false and
15
16 misleading. The Individual Defendants are liable for the false statements and omissions
17 pleaded herein.
18
                               SUBSTANTIVE ALLEGATIONS
19
20                                        Background

21         21.   Homology, a genetic medicines company, focuses on transforming the lives
22
     of patients suffering from rare genetic diseases. The Company’s lead product candidate
23
24 is HMI-102, which is in Phase I/II pheNIX clinical trial, a gene therapy for the treatment
25 of phenylketonuria (PKU) in adults.
26
27
28                                              6
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 1      Materially False and Misleading Statements Issued During the Class Period
 2
           22.    The Class Period begins on June 10, 2019, when Homology issued a press
 3
     release entitled, “Homology Medicines Initiates Phase 1/2 Study for HMI-102 Gene
 4
 5 Therapy Candidate for Adults with PKU and Expects Initial Clinical Results by Year End
 6
     2019.” The press release stated, in relevant part:
 7
           Homology [. . .] announced today that it has commenced enrollment of the
 8
           Phase 1/2 pheNIX trial for HMI-102, a one-time gene therapy development
 9         candidate for the treatment of adults with phenylketonuria (PKU). The
10         pheNIX study is designed to evaluate the safety and efficacy of the
           investigational gene therapy in a randomized, concurrently-controlled, dose-
11         escalation study. PKU is an inborn error of metabolism caused by a mutation
12         in the PAH gene that results in a potentially toxic buildup of phenylalanine
           (Phe), an essential amino acid derived primarily from dietary protein.
13
14         “Our early work with the clinical sites has enabled us to move expeditiously
           from receiving IND clearance to enrolling patients,” said Arthur Tzianabos,
15         Ph.D., President and Chief Executive Officer of Homology Medicines. “We
16         now have both external and internal operational GMP capabilities utilizing
           our proprietary process development and commercial manufacturing platform
17         that can supply HMI-102 for the pheNIX trial all the way through to
18         commercial scale. Our early investment in manufacturing is a key strategic
           advantage for Homology that has allowed us to progress this program rapidly
19         to the clinic.”
20
           23.    On June 17, 2019, Homology issued a press release entitled, “Homology
21
22 Medicines Presents Data Showing Single Dose HMI-102 Resulted in Long-Term
23 Correction of PKU, Including Reduction of Phe and Increased Brain Neurotransmitters
24
   in Murine Model.” The press release stated, in relevant part:
25
26       “These findings are part of a larger body of preclinical data demonstrating the
         therapeutic potential and efficacy of HMI-102, which provided a strong
27
28                                               7
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 1         foundation for the recent initiation of our Phase 1/2 pheNIX study, the first
           gene therapy candidate for PKU to enter clinical trials,” said Albert Seymour,
 2
           Ph.D., Chief Scientific Officer of Homology Medicines. “With initial results
 3         from the pheNIX trial expected later this year, we believe that a one-time,
           potentially curative treatment that addresses the underlying cause of PKU may
 4
           offer patients a sustained reduction of Phe and freedom from a life-long,
 5         protein-restricted diet.”
 6
           24.    On August 8, 2019, Homology issued a press release announcing the
 7
 8 Company’s Q2 2019 financial results and recent highlights. The press release stated, in
 9 relevant part:
10
           “We have been pleased by the positive reception we are getting from
11         additional clinical sites eager to participate in our trial, as well as from patients
12         with PKU looking for a new solution,” said Albert Seymour, Ph.D., Chief
           Scientific Officer of Homology. “As a company founded and focused on
13         developing our science into potential cures for the benefit of patients, we
14         continue to present our data at peer-reviewed meetings, as evidenced by the
           11 presentations by Homology at scientific conferences during the second
15         quarter alone.”
16
           25.    On October 21, 2019, Homology issued a press release entitled, “Homology
17
18 Medicines Presents Data from Investigational PKU and MLD Gene Therapy Programs
19 that Demonstrate Preclinical Proof-of-Concept for Potential One-Time Therapies.” The
20
     press release stated, in relevant part:
21
22         Homology [. . .] announced today the presentation of preclinical data that
           support its investigational gene therapy programs for the treatment of
23         metachromatic leukodystrophy (MLD) and phenylketonuria (PKU) at the
24         American Society of Human Genetics (ASHG) 2019 Meeting. [. . .] In
           addition, preclinical data on gene therapy candidate HMI-102 showed that a
25         single administration resulted in sustained Phe reduction and increased
26         tyrosine and other important downstream biochemical metabolites in the PKU
           murine model.
27
28                                                 8
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 1         “The MLD presentation is part of a growing foundation of HMI-202 data to
           support a future IND filing, and the PKU preclinical data supported the
 2
           initiation of our Phase 1/2 trial, which is ongoing and expected to report initial
 3         data by the end of this year,” said Albert Seymour, Ph.D., Chief Scientific
           Officer of Homology Medicines. “Taken together, these presentations
 4
           demonstrate the potential of our genetic medicines platform, investigational
 5         PKU and MLD gene therapies and our continued focus on advancing these
           treatments to help patients and their families.”
 6
 7         26.   On October 25, 2019, Homology issued a press release entitled, “Homology
 8
     Medicines Presents Preclinical Data From Its Investigational PKU Gene Editing
 9
10 Program, Demonstrating Phenotypic Correction and Molecular Confirmation of Editing
11 Precision.” The press release stated, in relevant part:
12
           “The ability of AAVs to induce nuclease-free gene editing through
13         homologous recombination has been established for decades, and here we
14         presented data showing that our AAVHSCs induced in vivo targeted gene
           insertion into genomes using this natural DNA repair pathway in humanized
15         and PKU murine models,” stated Albert Seymour, Ph.D., Chief Scientific
16         Officer of Homology Medicines. “Importantly, the in vivo gene insertion was
           characterized and confirmed at the DNA level, demonstrating the efficiency
17         and precision of editing supporting our PKU gene editing program.”
18
           27.   On November 12, 2019, Homology issued a press release announcing the
19
20 Company’s Q3 2019 financial results and recent highlights. The press release stated, in
21 relevant part:
22
           “Our Phase 1/2 pheNIX gene therapy trial for adults with PKU is enrolling
23         patients at multiple clinical sites, and we are on track to share initial clinical
24         data from the first few patients by the end of the year.” Dr. Tzianabos added,
           “Our human gene editing development candidate for pediatric patients with
25         PKU is also progressing, with preclinical data presented that showed
26         molecular confirmation of precise, selective and efficient in vivo editing that
           meets a therapeutic threshold in a disease model. For our MLD program, we
27
28                                                9
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 1          presented human ARSA protein levels confirming crossing of the blood-
            brain-barrier and blood-nerve-barrier in non-human primates after a single
 2
            intravenous administration. Importantly, our internal manufacturing platform
 3          is established with a commercial process and scale featuring 500liter capacity
            and expanding, and it is now supplying the pheNIX clinical trial.”
 4
 5          Third Quarter 2019 and Recent Accomplishments
 6
                   Continued to advance the Phase 1/2 pheNIX clinical trial with
 7                  investigational HMI-102 gene therapy for adults with phenylketonuria
 8                  (PKU) at multiple sites in the U.S.

 9          28.      On December 17, 2019, Homology issued a press release entitled,
10
      “Homology Medicines Announces Encouraging Initial Clinical Data from its pheNIX
11
12 Gene Therapy Trial for PKU.” The press release stated, in relevant part:
13           “We believe that the initial efficacy from Cohort 2 suggest HMI-102 is
14          delivering the PAH gene that produces the functional PAH enzyme and
            restores the biochemical pathway that converts Phe to Tyr,” stated Albert
15          Seymour, Ph.D., Chief Scientific Officer of Homology Medicines. “We are
16          pleased with the data with HMI-102, as this trial represents the first time one
            of our novel, human-derived AAVHSCs has been administered to patients,
17          and provides initial evidence supporting our vector platform. The safety
18          results observed and trial design allowed us to quickly execute on our plan to
            dose-escalate, and our wide safety margin provides potential for further dose-
19          escalation.”
20
                                                  ***
21
22          “Over a year-and-a-half ago as a preclinical company, we made a commitment
            to report initial clinical data from the pheNIX trial by the end of 2019. Today,
23          we provide more data than we promised, which I believe is a testament to our
24          team’s ability to execute as well as the strong interest from patients and
            physicians,” stated Arthur Tzianabos, Ph.D., President and Chief Executive
25          Officer of Homology Medicines.
26
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 1          29.      On March 12, 2020, Homology issued a press release announcing the
 2
      Company’s Q4 and full year 2019 financial results and recent accomplishments. The
 3
      press release stated, in relevant part:
 4
 5          “In 2019, we delivered on our goals to launch the first ever PKU gene therapy
            trial and announce initial clinical data,” said Arthur Tzianabos, Ph.D.,
 6
            President and Chief Executive Officer of Homology Medicines. “We reported
 7          encouraging safety and efficacy data from the dose-escalation portion of the
            trial, an important milestone for Homology and for the PKU community. We
 8
            plan to provide an update on pheNIX when we choose the dose for the
 9          randomized, concurrently controlled part of the trial, which we anticipate will
10          occur in mid-2020.”

11                                                 ***
12
            Fourth Quarter 2019 and Recent Accomplishments
13
14                 Shared initial encouraging clinical data from a single I.V.
                    administration of investigational gene therapy HMI-102 in the pheNIX
15                  trial, the first gene therapy clinical trial in phenylketonuria (PKU).
16                  Keeping with guidance initially set in 2018, Homology released initial
                    data from Cohort 1 (low-dose, n=2) and the first patient in Cohort 2
17                  (mid-dose) at the end of 2019. As of the data cut-off date of December
18                  2, 2019:
                        o Preliminary safety data from Cohorts 1 and 2 showed HMI-102
19                          was well-tolerated.
20                      o Efficacy data from the first patient in Cohort 2 indicated a dose-
                            response effect with an observed reduction in phenylalanine
21                          (Phe) levels from baseline at Weeks 1 and 4, increase in tyrosine
22                          (Tyr), and reduction in the Phe to Tyr ratio, suggestive of
                            increased enzymatic activity.
23
24          30.      That same day, Homology filed an Annual Report on Form 10-K with the
25 SEC, reporting the Company’s financial and operating results for the year ended
26
   December 31, 2019 (the “2019 10-K”). The 2019 10-K stated, in relevant part:
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28                                                 11
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 1                 We are currently in the dose-escalation portion of our Phase 1/2
            pheNIX clinical trial with our first and lead product candidate, HMI-102, a
 2
            gene therapy for the treatment of PKU. Once a dose is chosen, we will initiate
 3          the randomized, concurrently controlled Part B of the trial, which has the
            potential to be converted to a registrational trial. In December 2019, in
 4
            accordance with a corporate goal that we had established in early 2018, we
 5          reported encouraging initial clinical data from the pheNIX trial from Cohort
            1 (low dose, n=2) and Cohort 2 (mid-dose, n=1) based on the data cutoff date
 6
            of December 2, 2019. Preliminary safety data from three subjects in Cohorts
 7          1 and 2 showed HMI-102 was well-tolerated with no treatment-emergent
            adverse events, or TEAEs, or serious TEAEs. Efficacy data from the first
 8
            patient in Cohort 2 suggested a dose-response effect with an observed
 9          reduction in Phe levels from baseline and a corresponding increase in Tyr
10          which translated to an overall reduction in the Phe/Tyr ratio, suggestive of
            increased enzymatic activity. Phe levels have been evaluated as a primary
11          registrable endpoint in previous PKU clinical trials, Tyr is a product of Phe
12          metabolism and a precursor to neurotransmitters, and the Phe/Tyr ratio is a
            clinically relevant diagnostic measurement for PKU.
13
14          31.      Further, in providing an overview of the Company’s strategy, the 2019 10-K

15 stated, in relevant part:
16
            Our goal is to transform the lives of patients suffering from severe genetic
17          diseases by using gene editing and gene therapy to cure the underlying cause
18          of the disease. The critical components of our strategy to achieve this goal
            include:
19
20                                                 ***

21                 Advance our pipeline programs through clinical proof-of-concept
22                  and commercialization. We are continuing to advance the Phase 1/2
                    pheNIX clinical trial with investigational HMI-102 gene therapy for
23                  adults with PKU at multiple sites in the U.S., and have reported
24                  encouraging initial clinical data in 2019. We believe that our approach
                    of initially utilizing one of our AAVHSCs for gene therapy in adult
25                  PKU patients while, in parallel, advancing gene editing for pediatric
26                  PKU patients will maximize the efficiency of our pipeline development
                    while providing potential solutions for the unique needs of each
27
28                                                12
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 1                particular PKU patient population. Given the well-defined nature of
                  PKU and the concentration of treatment centers, we intend to bring
 2
                  HMI-102, if approved, to patients through a small, targeted internal
 3                commercial organization.
 4
            32.   Appended to the 2019 10-K as exhibits were signed certifications pursuant
 5
      to the Sarbanes-Oxley Act of 2002 (“SOX”) by Defendants Tzianabos and Smith attesting
 6
 7 that “the information contained in the [2019 10-K] fairly presents, in all material respects,
 8
      the financial condition and results of operations of the Company.”
 9
10          33.   On March 16, 2020, Homology issued a press release entitled, “Homology

11 Medicines Announces Peer-Reviewed Publication of HMI-102 Investigational Gene
12
      Therapy Demonstrating Restoration of Normal Metabolic Pathway in PKU Disease
13
14 Model.” The press release stated, in relevant part:
15          “We developed a robust preclinical data package for our investigational HMI-
16          102 gene therapy, which supported the initiation of our ongoing Phase 1/2
            pheNIX clinical trial for adults with PKU,” stated Albert Seymour, Ph.D.,
17          Chief Scientific Officer of Homology Medicines. “These published data
18          demonstrated that a single dose of HMI-102 was able to restore the normal
            biochemical pathway in the established PKU model on normal protein diet.
19          Initial data from the pheNIX trial suggests that the increased PAH enzymatic
20          activity after administration of HMI-102 seen in the preclinical model was
            also observed in the clinical study.”
21
22          34.   On May 7, 2020, Homology issued a press release announcing the

23 Company’s Q1 2020 financial results and recent highlights. The press release stated, in
24
   relevant part:
25
26       First Quarter 2020 Financial Results and Recent Accomplishments

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28                                              13
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 1                 Progressed the dose-escalation phase of the pheNIX clinical trial
 2                  evaluating HMI-102 gene therapy for the treatment of adults with
                    phenylketonuria (PKU).
 3                     o Following encouraging initial clinical data from the trial
 4                         announced in December 2019, additional PKU centers across the
                           U.S. were initiated, bringing the total to eight trial sites.
 5                     o Produced all the HMI-102 supply for the dose-escalation and
 6                         expansion phases of the trial using Homology’s commercial
                           manufacturing process and began producing supply for a pivotal
 7                         trial.
 8                     o As previously announced, Homology plans to provide an update
                           on the trial mid-year when a dose is selected for the expansion
 9                         phase, which has the potential to be converted to a registrational
10                         trial.
                   Highlighted preclinical data supporting the HMI-102 program in a
11                  peer-reviewed publication in Molecular Therapy: Methods & Clinical
12                  Development. The data demonstrated HMI-102 restored the normal
                    biochemical pathway in the established PKU murine model on normal
13                  protein diet; initial data from the pheNIX trial announced in December
14                  2019 suggest that the increased PAH enzymatic activity seen in the
                    preclinical model was also observed in the clinical study following a
15                  single I.V. administration of HMI-102.
16
            35.      On August 10, 2020, Homology issued a press release announcing the
17
18 Company’s Q2 2020 financial results and providing a business update. The press release
19 stated, in relevant part:
20
          “The pheNIX trial for adult patients with PKU is ongoing, and we continue to
21        be encouraged by both the clinical data suggesting enzymatic activity and the
22        safety profile of HMI-102. We have dosed patients in three cohorts in the
          dose-escalation phase of our trial, and this has taken more time than we
23        anticipated due to the pandemic. We continue to assess the data, which
24        includes a recently dosed patient, before we select the dose for our expansion
          phase. As a result, we are extending our timeline and still expect to provide
25        an update once we have selected a dose for the expansion phase, which has
26        the potential to be a registrational trial.” “In the second quarter, we achieved
          a milestone in our nuclease-free gene editing program with the peer-reviewed
27
28                                                 14
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 1          publication of the quantitative molecular methods that we used to show the
            precision and efficiency of our technology in preclinical studies of PKU.[”]
 2
 3                                                 ***
 4
            Second Quarter 2020 and Recent Accomplishments
 5
 6                 Announced today an update to the Phase 1/2 pheNIX gene therapy
                    clinical trial with HMI-102 for adults with phenylketonuria (PKU):
 7                      o Since the Company’s initial trial data reported in December
 8                         2019:
                                Homology continued to observe encouraging clinical data
 9                                 that suggest PAH enzymatic activity.
10                              High-dose Cohort 3 patients were enrolled and dosed.
                                No treatment-related serious adverse events were reported.
11
12          36.      On November 6, 2020, Homology issued a press release entitled,

13 “Homology Medicines Announces Presentation of Positive Data from the Dose-
14
      Escalation Phase of the pheNIX Gene Therapy Trial for Adults with PKU.” The press
15
16 release stated, in relevant part:
17          Homology [. . .] announced today the presentation of positive data from the
18          dose-escalation portion of the Phase 1/2 gene therapy pheNIX clinical trial for
            adults with phenylketonuria (PKU). The results showed that product
19          candidate HMI-102 was generally well-tolerated, and resulted in marked
20          reductions in phenylalanine (Phe) and the Phe-to-tyrosine (Tyr) ratio (Phe/Tyr
            ratio) at two doses. Phe is a registrable endpoint in PKU, and the Phe/Tyr ratio
21          is a clinically relevant diagnostic measurement for PKU. With these positive
22          results, Homology is progressing to the randomized, concurrently controlled
            expansion phase of the trial, which has the potential to be converted to a
23          registrational trial.
24
25
26
27
28                                                15
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1           37.      On November 9, 2020, Homology issued a press release announcing the
2
      Company’s Q3 2020 financial results and recent highlights. The press release stated, in
3
      relevant part:
4
5           “At the end of last week, we announced an important milestone for the PKU
            community and Homology with the positive data from the dose-escalation
6
            phase of our pheNIX PKU gene therapy clinical trial and plans to initiate the
7           dose expansion phase by early 2021,” stated Arthur Tzianabos, Ph.D.,
            President and Chief Executive Officer of Homology Medicines.
8
9                                                  ***
10
            Third Quarter 2020 Financial Results and Recent Accomplishments
11
12                 Announced today a $60 million equity investment from Pfizer Inc. with
                    the purchase of 5,000,000 shares of common stock at a price of $12.00
13                  per share, which is expected to close on or about November 10, 2020.
14                  The investment includes a right of first refusal on future transactions
                    for the Company’s phenylketonuria (PKU) product candidates: HMI-
15                  102 gene therapy candidate for adults with PKU and HMI-103 gene
16                  editing candidate for pediatric patients with PKU.
                   As announced on November 6, 2020, plans to progress the pheNIX
17                  gene therapy clinical trial for adults with PKU to the randomized,
18                  concurrently controlled dose expansion phase with two doses. The
                    expansion phase has the potential to be converted to a registrational
19                  trial. In the dose-escalation phase:
20                      o Development candidate HMI-102 was generally well-tolerated,
                            and there were no treatment-related serious adverse events
21                          (SAEs).
22                      o There were marked reductions in phenylalanine (Phe) and the
                            Phe-to-tyrosine (Phe/Tyr) ratio in some patients in Cohorts 2 and
23                          3 (mid- and high-dose cohorts).
24                      o The mean percent change from baseline in Phe observed in
                            patients in Cohorts 2 and 3 were significant, compared to low-
25                          dose Cohort 1*. These Phe reductions occurred while patients
26                          self-liberalized their diets.
27
28                                                 16
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 1          38.    On January 6, 2021, Homology issued a press release entitled, “Homology
 2
      Medicines Announces Plans for Three Clinical Programs in 2021 Spanning
 3
      Phenylketonuria (PKU) and Hunter Syndrome (MPS II).” The press release stated, in
 4
 5 relevant part:
 6
            “We ended 2020 with positive data from the dose-escalation phase of the
 7          world’s first PKU gene therapy clinical trial, pheNIX, and validation of both
            our PKU gene therapy and gene editing programs with an equity investment
 8
            from Pfizer, a leader in genetic medicines,” stated Arthur Tzianabos, Ph.D.,
 9          President and Chief Executive Officer of Homology Medicines. “The pheNIX
10          clinical trial sites are recruiting for the Phase 2 dose expansion phase of the
            trial, and we anticipate clinical data by the end of the year. Continuing this
11          momentum, we outlined today our plans to initiate two additional Phase 1/2
12          dose-escalation trials in 2021 with our gene therapy candidate for Hunter
            syndrome and our first gene editing candidate, which is for PKU.”
13
14          39.    On March 11, 2021, Homology issued a press release announcing the

15 Company’s Q4 and full year 2020 financial results and recent highlights. The press
16
      release stated, in relevant part:
17
18          “In 2020, we remained focused on our mission, proactive in our preparations
            and successfully advanced our genetic medicines platform to meet our goals,”
19          stated Arthur Tzianabos, Ph.D., President and Chief Executive Officer of
20          Homology Medicines. “We ended the year with positive data from the dose-
            escalation phase of our pheNIX PKU gene therapy clinical trial and a
21          subsequent $60 million equity investment from Pfizer.[”]
22
            40.    That same day, Homology filed an Annual Report on Form 10-K with the
23
24 SEC, reporting the Company’s financial and operating results for the year ended
25 December 31, 2020 (the “2020 10-K”). The 2020 10-K contained substantively similar
26
27
28                                               17
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 1 descriptions of the HMI-102 Trial and the Company’s strategy as discussed, supra, in ¶¶
 2
      30-31.
 3
            41.      Appended to the 2020 10-K as exhibits were signed certifications pursuant
 4
 5 to SOX by Defendants Tzianabos and Smith attesting that “the information contained in
 6
      the [2020 10-K] fairly presents, in all material respects, the financial condition and results
 7
 8 of operations of the Company.”
 9          42.      On May 6, 2021, Homology issued a press release announcing the
10
      Company’s Q1 2021 financial results and recent highlights. The press release stated, in
11
12 relevant part:
13          We are in the midst of a transformational time at Homology as we continue to
14          mature and expand our genetic medicines platform and we are on track to
            report initial Phase 2 data from our pheNIX clinical trial and move two
15          additional programs into the clinic this year,” stated Arthur Tzianabos, Ph.D.,
16          President and Chief Executive Officer of Homology Medicines.

17                                                 ***
18
            First Quarter 2021 and Recent Accomplishments
19
20                 Progressed the dose expansion phase of the Phase 1/2 pheNIX trial
                    evaluating HMI-102 gene therapy for the treatment of adults with
21                  phenylketonuria (PKU), which has the potential to be converted to a
22                  registrational trial.
                       o Following encouraging clinical data from the dose-escalation
23                         phase of pheNIX, Homology continued to engage additional sites
24                         to enroll patients.
25
26
27
28                                                 18
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 1          43.    On August 12, 2021, Homology issued a press release announcing the
 2
      Company’s Q2 2021 financial results and recent highlights. The press release stated, in
 3
      relevant part:
 4
 5          “We continue to demonstrate the breadth and depth of our genetic medicines
            platform with three clinical programs expected this year, which span in vivo
 6
            gene therapy and gene editing trials for rare liver and CNS-based diseases,”
 7          stated Arthur Tzianabos, Ph.D., President and CEO of Homology Medicines.
            “With additional data from our gene therapy trial and the start of our first gene
 8
            editing trial, both of which are focused on developing one-time treatments for
 9          PKU and are expected this year, we will be closer to our goal of helping adults
10          and children living with this challenging inherited metabolic disorder. In
            addition, we remain on track to initiate our clinical trial for Hunter syndrome
11          and we believe our single I.V. delivery may address both peripheral and CNS
12          aspects of this disease.”

13          44.    On November 15, 2021, Homology issued a press release announcing the
14
      Company’s Q3 2021 financial results and recent highlights. The press release stated, in
15
16 relevant part:
17          “We realized our goal to have three clinical programs underway this year by
18          moving our gene editing candidate for PKU and gene therapy for Hunter
            syndrome into the clinic, both evaluating first-of-a-kind approaches for these
19          diseases,” stated Arthur Tzianabos, Ph.D., President and CEO of Homology
20          Medicines. “We have always planned to develop two solutions for people
            living with PKU, first with our ongoing pheNIX gene therapy trial in adults
21          and now with our gene editing trial, which is focused initially on adults and
22          then pediatric patients over time. In addition, our gene therapy program for
            patients with Hunter syndrome plans to evaluate a much needed one-time
23          therapy designed to address both peripheral organ and cognitive
24          manifestations of this disease with an I.V. infusion.”

25                                                ***
26
27
28                                                19
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 1                 Provided an update on the ongoing pheNIX clinical trial, a Phase 2 dose
 2                  expansion study evaluating HMI-102 gene therapy in adults with PKU.
                    Specifically:
 3                     o Both doses were generally well-tolerated and showed evidence
 4                        of biological activity, including clinically meaningful reductions
                          in phenylalanine (Phe) levels, increases in tyrosine (Tyr) and
 5                        reductions in the Phe-to-Tyr ratio;
 6                     o Added new clinical trial sites for a total of 13 with more expected
                          shortly, and expanded Medical Affairs, Clinical Development
 7                        and Operations teams to support ongoing trials; and
 8                     o Plans to provide a detailed data update in mid-2022 when more
                          patients are expected to be enrolled in the trial.
 9
10          45.      The statements referenced in ¶¶ 22-44 were materially false and misleading

11 because Defendants made false and/or misleading statements, as well as failed to disclose
12
      material adverse facts about the Company’s business, operations, and compliance
13
14 policies. Specifically, Defendants made false and/or misleading statements and/or failed
15 to disclose that: (i) the Company had overstated HMI-102’s efficacy and risk mitigation;
16
   (ii) accordingly, it was unlikely that the Company would be able to commercialize HMI-
17
18 102 in its present form; and (iii) as a result, the Company’s public statements were
19 materially false and misleading at all relevant times.
20
                                The Truth Begins to Emerge
21
22       46. On July 21, 2020, Mariner Research published a report questioning
23 statements by Homology and its officers about the efficacy of HMI-102, the Company’s
24
   lead product candidate for treatment of phenylketonuria. Mariner focused on
25
26 Homology’s HMI-102 dose escalation pheNIX trial, concluding that the Company
27
28                                                 20
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 1 concealed data showing HMI-102’s lack of efficacy and indicating that the program was
 2
      unlikely to proceed to commercialization. Among other evidence, Mariner cited an email
 3
      from Homology’s Chief Communications Officer appearing to indicate the Company’s
 4
 5 awareness that a HMI-102 high dose patient had adverted to the adverse efficacy issue in
 6
      a social media post during April 2020.
 7
 8          47.   On this news, Homology’s stock price fell $1.71 per share, or 10.38%, over

 9 the following three trading days, closing at $14.77 per share on July 24, 2020.
10
                                    The Truth Fully Emerges
11
12          48.   Then, on February 18, 2022, Homology issued a press release providing an

13 update on the HMI-102 Trial. Specifically, the press release stated, in relevant part:
14
            Homology Medicines, Inc. (Nasdaq: FIXX), a genetic medicines company,
15          announced today that the U.S. Food and Drug Administration (FDA) has
16          notified the company that its pheNIX gene therapy trial of HMI-102 in adults
            with phenylketonuria (PKU) has been placed on clinical hold due to the need
17          to modify risk mitigation measures in the study in response to observations of
18          elevated liver function tests. The Company expects to receive an official
            clinical hold letter within 30 days. Homology plans to provide an update
19          pending further clarity from the FDA.
20
            “We look forward to working with the FDA to address the Agency’s questions
21          and feedback once we receive the letter,” stated Arthur Tzianabos, Ph.D.,
22          President and Chief Executive Officer of Homology Medicines. “This hold on
            our PKU gene therapy trial is based on clinical observations in the pheNIX
23          study and does not relate to CMC/manufacturing capabilities or Homology’s
24          other clinical programs. We plan to provide next steps once we have more
            information following our FDA interactions.”
25
26
27
28                                              21
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 1          Homology has two ongoing clinical programs, the pheEDIT gene editing trial
            of HMI-103 for PKU and the juMPStart gene therapy trial of HMI-203 for
 2
            Hunter syndrome, with program updates expected by the end of this year.
 3
            49.   On this news, Homology’s stock price fell $1.26 per share, or 32.64%, to
 4
 5 close at $2.60 per share on February 22, 2022.
 6
            50.   As a result of Defendants’ wrongful acts and omissions, and the precipitous
 7
 8 decline in the market value of the Company’s securities, Plaintiff and other Class
 9 members have suffered significant losses and damages.
10
                       PLAINTIFF’S CLASS ACTION ALLEGATIONS
11
12          51.   Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

13 Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or
14
      otherwise acquired Homology securities during the Class Period (the “Class”); and were
15
16 damaged upon the revelation of the alleged corrective disclosures. Excluded from the
17 Class are Defendants herein, the officers and directors of the Company, at all relevant
18
      times, members of their immediate families and their legal representatives, heirs,
19
20 successors or assigns and any entity in which Defendants have or had a controlling
21 interest.
22
            52.   The members of the Class are so numerous that joinder of all members is
23
24 impracticable. Throughout the Class Period, Homology securities were actively traded
25 on the NASDAQ. While the exact number of Class members is unknown to Plaintiff at
26
   this time and can be ascertained only through appropriate discovery, Plaintiff believes
27
28                                               22
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 1 that there are hundreds or thousands of members in the proposed Class. Record owners
 2
      and other members of the Class may be identified from records maintained by Homology
 3
      or its transfer agent and may be notified of the pendency of this action by mail, using the
 4
 5 form of notice similar to that customarily used in securities class actions.
 6
            53.       Plaintiff’s claims are typical of the claims of the members of the Class as all
 7
 8 members of the Class are similarly affected by Defendants’ wrongful conduct in violation
 9 of federal law that is complained of herein.
10
            54.       Plaintiff will fairly and adequately protect the interests of the members of
11
12 the Class and has retained counsel competent and experienced in class and securities
13 litigation. Plaintiff has no interests antagonistic to or in conflict with those of the Class.
14
            55.       Common questions of law and fact exist as to all members of the Class and
15
16 predominate over any questions solely affecting individual members of the Class.
17 Among the questions of law and fact common to the Class are:
18
                      whether the federal securities laws were violated by Defendants’ acts as
19                     alleged herein;
20
                      whether statements made by Defendants to the investing public during the
21                     Class Period misrepresented material facts about the business, operations
22                     and management of Homology;
23                    whether the Individual Defendants caused Homology to issue false and
24                     misleading financial statements during the Class Period;
25
                      whether Defendants acted knowingly or recklessly in issuing false and
26                     misleading financial statements;
27
28                                                   23
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 1                    whether the prices of Homology securities during the Class Period were
 2                     artificially inflated because of the Defendants’ conduct complained of
                       herein; and
 3
 4                    whether the members of the Class have sustained damages and, if so, what
                       is the proper measure of damages.
 5
 6          56.       A class action is superior to all other available methods for the fair and

 7 efficient adjudication of this controversy since joinder of all members is impracticable.
 8
      Furthermore, as the damages suffered by individual Class members may be relatively
 9
10 small, the expense and burden of individual litigation make it impossible for members of
11 the Class to individually redress the wrongs done to them. There will be no difficulty in
12
   the management of this action as a class action.
13
14       57. Plaintiff will rely, in part, upon the presumption of reliance established by

15 the fraud-on-the-market doctrine in that:
16
              Defendants made public misrepresentations or failed to disclose material
17                facts during the Class Period;
18
              the omissions and misrepresentations were material;
19
20                    Homology securities are traded in an efficient market;
21
                      the Company’s shares were liquid and traded with moderate to heavy
22                     volume during the Class Period;
23
                      the Company traded on the NASDAQ and was covered by multiple
24                     analysts;
25
                      the misrepresentations and omissions alleged would tend to induce a
26                     reasonable investor to misjudge the value of the Company’s securities; and
27
28                                                 24
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 1                     Plaintiff and members of the Class purchased, acquired and/or sold
 2                      Homology securities between the time the Defendants failed to disclose or
                        misrepresented material facts and the time the true facts were disclosed,
 3                      without knowledge of the omitted or misrepresented facts.
 4
             58.       Based upon the foregoing, Plaintiff and the members of the Class are entitled
 5
 6 to a presumption of reliance upon the integrity of the market.
 7           59.       Alternatively, Plaintiff and the members of the Class are entitled to the
 8
      presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of
 9
10 the State of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants
11 omitted material information in their Class Period statements in violation of a duty to
12
      disclose such information, as detailed above.
13
14                                                COUNT I

15       (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
16                            Thereunder Against All Defendants)

17           60.       Plaintiff repeats and re-alleges each and every allegation contained above as
18
      if fully set forth herein.
19
20           61.       This Count is asserted against Defendants and is based upon Section 10(b)

21 of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the
22
   SEC.
23
24        62. During the Class Period, Defendants engaged in a plan, scheme, conspiracy
25 and course of conduct, pursuant to which they knowingly or recklessly engaged in acts,
26
   transactions, practices and courses of business which operated as a fraud and deceit upon
27
28                                                   25
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 1 Plaintiff and the other members of the Class; made various untrue statements of material
 2
      facts and omitted to state material facts necessary in order to make the statements made,
 3
      in light of the circumstances under which they were made, not misleading; and employed
 4
 5 devices, schemes and artifices to defraud in connection with the purchase and sale of
 6
      securities. Such scheme was intended to, and, throughout the Class Period, did: (i)
 7
 8 deceive the investing public, including Plaintiff and other Class members, as alleged
 9 herein; (ii) artificially inflate and maintain the market price of Homology securities; and
10
      (iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire
11
12 Homology securities and options at artificially inflated prices. In furtherance of this
13 unlawful scheme, plan and course of conduct, Defendants, and each of them, took the
14
      actions set forth herein.
15
16          63.    Pursuant to the above plan, scheme, conspiracy and course of conduct, each

17 of the Defendants participated directly or indirectly in the preparation and/or issuance of
18
      the quarterly and annual reports, SEC filings, press releases and other statements and
19
20 documents described above, including statements made to securities analysts and the
21 media that were designed to influence the market for Homology securities. Such reports,
22
      filings, releases and statements were materially false and misleading in that they failed to
23
24 disclose material adverse information and misrepresented the truth about Homology’s
25 finances and business prospects.
26
27
28                                                26
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 1          64.     By virtue of their positions at Homology, Defendants had actual knowledge
 2
      of the materially false and misleading statements and material omissions alleged herein
 3
      and intended thereby to deceive Plaintiff and the other members of the Class, or, in the
 4
 5 alternative, Defendants acted with reckless disregard for the truth in that they failed or
 6
      refused to ascertain and disclose such facts as would reveal the materially false and
 7
 8 misleading nature of the statements made, although such facts were readily available to
 9 Defendants. Said acts and omissions of Defendants were committed willfully or with
10
      reckless disregard for the truth.   In addition, each Defendant knew or recklessly
11
12 disregarded that material facts were being misrepresented or omitted as described above.
13          65.   Information showing that Defendants acted knowingly or with reckless
14
      disregard for the truth is peculiarly within Defendants’ knowledge and control. As the
15
16 senior managers and/or directors of Homology, the Individual Defendants had knowledge
17 of the details of Homology’s internal affairs.
18
            66.   The Individual Defendants are liable both directly and indirectly for the
19
20 wrongs complained of herein. Because of their positions of control and authority, the
21 Individual Defendants were able to and did, directly or indirectly, control the content of
22
      the statements of Homology. As officers and/or directors of a publicly-held company,
23
24 the Individual Defendants had a duty to disseminate timely, accurate, and truthful
25 information with respect to Homology’s businesses, operations, future financial condition
26
   and future prospects. As a result of the dissemination of the aforementioned false and
27
28                                              27
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 1 misleading reports, releases and public statements, the market price of Homology
 2
      securities was artificially inflated throughout the Class Period. In ignorance of the
 3
      adverse facts concerning Homology’s business and financial condition which were
 4
 5 concealed by Defendants, Plaintiff and the other members of the Class purchased or
 6
      otherwise acquired Homology securities at artificially inflated prices and relied upon the
 7
 8 price of the securities, the integrity of the market for the securities and/or upon statements
 9 disseminated by Defendants, and were damaged thereby.
10
            67.    During the Class Period, Homology securities were traded on an active and
11
12 efficient market. Plaintiff and the other members of the Class, relying on the materially
13 false and misleading statements described herein, which the Defendants made, issued or
14
      caused to be disseminated, or relying upon the integrity of the market, purchased or
15
16 otherwise acquired shares of Homology securities at prices artificially inflated by
17 Defendants’ wrongful conduct. Had Plaintiff and the other members of the Class known
18
      the truth, they would not have purchased or otherwise acquired said securities, or would
19
20 not have purchased or otherwise acquired them at the inflated prices that were paid. At
21 the time of the purchases and/or acquisitions by Plaintiff and the Class, the true value of
22
      Homology securities was substantially lower than the prices paid by Plaintiff and the
23
24 other members of the Class. The market price of Homology securities declined sharply
25 upon public disclosure of the facts alleged herein to the injury of Plaintiff and Class
26
   members.
27
28                                               28
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 1          68.    By reason of the conduct alleged herein, Defendants knowingly or
 2
      recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act and
 3
      Rule 10b-5 promulgated thereunder.
 4
 5          69.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff
 6
      and the other members of the Class suffered damages in connection with their respective
 7
 8 purchases, acquisitions and sales of the Company’s securities during the Class Period,
 9 upon the disclosure that the Company had been disseminating misrepresented financial
10
      statements to the investing public.
11
12                                            COUNT II

13          (Violations of Section 20(a) of the Exchange Act Against the Individual
14                                         Defendants)

15          70.    Plaintiff repeats and re-alleges each and every allegation contained in the
16
      foregoing paragraphs as if fully set forth herein.
17
18          71.    During the Class Period, the Individual Defendants participated in the

19 operation and management of Homology, and conducted and participated, directly and
20
      indirectly, in the conduct of Homology’s business affairs. Because of their senior
21
22 positions, they knew the adverse non-public information about Homology’s misstatement
23 of income and expenses and false financial statements.
24
          72. As officers and/or directors of a publicly owned company, the Individual
25
26 Defendants had a duty to disseminate accurate and truthful information with respect to
27
28                                                29
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 1 Homology’s financial condition and results of operations, and to correct promptly any
 2
      public statements issued by Homology which had become materially false or misleading.
 3
            73.    Because of their positions of control and authority as senior officers, the
 4
 5 Individual Defendants were able to, and did, control the contents of the various reports,
 6
      press releases and public filings which Homology disseminated in the marketplace during
 7
 8 the Class Period concerning Homology’s results of operations. Throughout the Class
 9 Period, the Individual Defendants exercised their power and authority to cause Homology
10
      to engage in the wrongful acts complained of herein. The Individual Defendants,
11
12 therefore, were “controlling persons” of Homology within the meaning of Section 20(a)
13 of the Exchange Act. In this capacity, they participated in the unlawful conduct alleged
14
      which artificially inflated the market price of Homology securities.
15
16          74.    Each of the Individual Defendants, therefore, acted as a controlling person

17 of Homology. By reason of their senior management positions and/or being directors of
18
      Homology, each of the Individual Defendants had the power to direct the actions of, and
19
20 exercised the same to cause, Homology to engage in the unlawful acts and conduct
21 complained of herein. Each of the Individual Defendants exercised control over the
22
      general operations of Homology and possessed the power to control the specific activities
23
24 which comprise the primary violations about which Plaintiff and the other members of
25 the Class complain.
26
27
28                                               30
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 1          75.    By reason of the above conduct, the Individual Defendants are liable
 2
      pursuant to Section 20(a) of the Exchange Act for the violations committed by Homology.
 3
                                      PRAYER FOR RELIEF
 4
 5          WHEREFORE, Plaintiff demands judgment against Defendants as follows:
 6
            A.     Determining that the instant action may be maintained as a class action under
 7
 8 Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class
 9 representative;
10
            B.     Requiring Defendants to pay damages sustained by Plaintiff and the Class
11
12 by reason of the acts and transactions alleged herein;
13          C.     Awarding Plaintiff and the other members of the Class prejudgment and
14
      post-judgment interest, as well as their reasonable attorneys’ fees, expert fees and other
15
16 costs; and
17          D.     Awarding such other and further relief as this Court may deem just and
18
      proper.
19
20                              DEMAND FOR TRIAL BY JURY

21          Plaintiff hereby demands a trial by jury.
22
      Dated: March 25, 2022                        Respectfully submitted,
23
                                                   POMERANTZ LLP
24
25                                                 /s/ Jennifer Pafiti
                                                   Jennifer Pafiti (SBN 282790)
26                                                 1100 Glendon Avenue, 15th Floor
                                                   Los Angeles, California 90024
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28                                               31
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL
                               SECURITIES LAWS
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3                                              Attorney for Plaintiff
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            CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL
                              SECURITIES LAWS
